        Case 1:01-cv-01357-RCL Document 812-6 Filed 06/23/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
JOHN DOE I, et al.,                     )
                                        )
            Plaintiffs,                 ) Civil Action No. 01-1357 (RCL/AK)
                                        )
v.                                      )
                                        )
EXXON MOBIL CORPORATION, et al.,        )
                                        )
            Defendants.                 )
                                        )


   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR REASONABLE
                            EXPENSES

       Upon consideration of Plaintiffs’ Motion for Reasonable Expenses, it is on this ____ day

of_______________, 2021, hereby

       ORDERED, that Plaintiffs’ Motion for Reasonable Expenses be, and the same is, hereby

GRANTED; and it is further

       ORDERED, that Plaintiffs be awarded $313,876.53 for the reasonable expenses,

including attorney’s fees, incurred in litigating their motion to compel and for sanctions, in

taking the compelled EMOI testimony, in preparing for and taking the resumed EMOI

deposition, and in preparing the above-referenced motion.

                                              ________________________________
                                              The Honorable Royce C. Lamberth
                                              United States District Judge
